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 8 BUREAU OF INVESTIGATION

 9                                   UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11                                        SAN FRANCISCO DIVISION

12
     THE CENTER FOR INVESTIGATIVE                        Case No. 19-cv-4541 LB
13   REPORTING,
                                                         REPLY IN SUPPORT OF MOTION FOR AN
14           Plaintiff,                                  ORDER PRESERVING CERTAIN
                                                         EXEMPTIONS AND BIFURCATING
15      v.                                               PROCEEDINGS

16   FEDERAL BUREAU OF INVESTIGATION,                    Date: January 16, 2020
                                                         Time: 9:30 a.m.
17           Defendant.                                  The Honorable Laurel Beeler

18
19 I.        INTRODUCTION
20           The FBI’s motion for an order preserving certain exemptions and bifurcating proceedings is
21 intended to establish Court-approved procedures for resolving this lawsuit efficiently and quickly, all

22 while protecting sensitive FBI equities and fully preserving the United States of America’s ability to bring

23 Anthonius Wamang to justice. If/when Mr. Wamang is released from prison in Indonesia, the United

24 States intends to prosecute him pursuant to the pending indictment in the United States District Court for

25 the District of Columbia. See ECF No. 16-1 (Declaration of David M. Hardy, (“Hardy Decl.”)) ¶ 6. The

26 FBI’s investigatory files may be used in the government’s future prosecution of Mr. Wamang, and

27 Mr. Wamang or his associates could leverage the premature release of this information to thwart the

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 1 United States’ prosecution. Id. Yet these FBI investigatory files are precisely the records plaintiff, The

 2 Center for Investigative Reporting, seeks through this Freedom of Information Act (“FOIA”) lawsuit.

 3 While the appropriateness of the FBI’s withholdings ultimately will be adjudicated through summary

 4 judgment motions, the FBI’s motion proposes a bifurcated process to resolve this matter in the quickest

 5 and most efficient way possible.

 6          Plaintiff’s opposition brief does not establish that bifurcation in this case is inappropriate. First,

 7 this Court has the inherent authority to control its docket and bifurcate these proceedings. Second, unlike

 8 this case, none of the cases cited by plaintiff involve a prospective bifurcation request, but rather belated

 9 attempts to reopen district court proceedings to assert new exemptions. Third, plaintiff’s objection that

10 bifurcation in this case would not result in efficiencies presupposes that the Court will reject the FBI’s

11 7(A) withholdings, but if the Court approves of those withholdings, there will be no second phase and no

12 second round of summary judgment briefing. Fourth, plaintiff’s request for an order requiring the FBI to

13 produce a Vaughn index is procedurally improper and, in any event, Vaughn indices are generally not

14 required in Exemption 7(A) cases. Finally, plaintiff’s request for the FBI to process all 24,400 pages of

15 potentially responsive records and produce a Vaughn index in the next 30-75 days is unsupported by

16 factually analogous case law—all of the cases cited by plaintiff were much more developed at the time

17 the courts ordered the defendant agencies to prepare a Vaughn index.

18 II.      THE COURT HAS THE AUTHORITY TO BIFURCATE THIS CASE IN THE INTEREST
            OF EFFICIENT JUDICIAL ADMINISTRATION
19

20          There is no question that district courts have “the inherent authority to manage their dockets and

21 courtrooms with a view toward the efficient and expedient resolution of cases.” Nevarez v. Forty Niners

22 Football Co., LLC, No. 16-CV-07013-LHK, 2019 U.S. Dist. LEXIS 177747, at *10 (N.D. Cal. Feb. 5,

23 2019) (quoting Dietz v. Bouldin, 136 S. Ct. 1885, 1892-93 (2016)). That is the purpose of the FBI’s

24 motion—if the Court bifurcates these proceedings, the FBI will finish its response to plaintiff’s FOIA

25 request four months earlier than if the case is not bifurcated. Then, if the Court agrees with the FBI’s 7(A)

26 withholdings, the second phase of the bifurcated proceedings will be completely unnecessary, and the FBI

27 will not have to expend valuable—and limited—government resources identifying and justifying

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 1 additional underlying exemptions, and the Court will not have to consider those additional exemption

 2 claims. These time and resource savings alone strongly suggest that the Court should grant the FBI’s

 3 motion, and nothing in plaintiff’s opposition brief establishes otherwise.

 4          Plaintiff’s opposition brief incorrectly contends that the FBI “must assert all exemptions at the

 5 same time” or risk waiving unclaimed exemptions. Opposition at 2 (quoting Hiken v. Dep’t of Defense,

 6 872 F. Supp. 2d 936, 940 (N.D. Cal. 2012). While this may be the “general rule,” a more fulsome quote

 7 from Hiken demonstrates that the law is not so absolute—in the very next sentence, Hiken says “because

 8 ‘the harms of disclosure may in some cases outweigh its benefits,’ courts are not to adopt a ‘rigid press it

 9 at the threshold, or lose it for all times approach to . . . FOIA exemption claims.’” Hiken, 872 F. Supp. 2d

10 at 940 (quoting August v. Fed. Bureau of Investigation, 328 F.3d 697, 699 (D.C. Cir. 2003). This is just

11 such a case—the FBI’s request for bifurcation will allow this case to proceed with economy of time and

12 effort, for the Court, for counsel, and for the parties.

13          Neither does Maydak v. U.S. Department of Justice, 218 F.3d 760, 762 (D.C. Cir. 2000), preclude

14 the relief sought in the FBI’s motion. Maydak stands for the proposition that “as a general rule, [the

15 government] must assert all exemptions at the same time, in the original district court proceedings.” Id.

16 at 764 (emphasis added). If the Court rejects the FBI’s Exemption 7(A) withholdings in the first phase of

17 bifurcated proceedings, the FBI will defend all other exemptions in the second phase of “the original

18 district court proceedings,” just as Maydak instructs. See id. at 764. And, as explained in the FBI’s
19 motion, Maydak’s “general rule” does not preclude an agency from raising additional FOIA exemptions

20 while a case remains pending in district court. See Motion at 3 (citing Sciba v. Bd. of Governor of Fed.

21 Reserve Sys., No. 04 Civ. 1011 (RBW), 2005 U.S. Dist. LEXIS 6007, at *5 n.3 (D.D.C. Apr. 1, 2005)

22 (“[A] fair reading of [Maydak] leads to the conclusion that the exemption only need be raised at a point in

23 the district court proceedings that gives the court an adequate opportunity to consider it.”) and Sussman v.

24 U.S. Marshals Service, 494 F.3d 1106, 1118 (D.C. Cir. 2007)).

25          While Plaintiff’s opposition brief claims that “courts have reprimanded defendants for trying to

26 bifurcate cases” (Opposition at 3), none of the cases cited by plaintiff involve a preemptive motion to

27 bifurcate, like the FBI’s. Instead, all of plaintiff’s cited cases involve after-the-fact government requests

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 1 to re-open proceedings so the government can belatedly raise a new exemption. See Maydak, 218 F.3d at

 2 764 (refusing to remand to district court to allow defendant agency to raise additional exemptions);

 3 Schanen v. U.S. Dep’t of Justice, 762 F.2d 805, 808 (9th Cir. 1985) (refusing to allow government to raise

 4 exemptions that it had first raised through a Federal Rule of Civil Procedure 60(b) motion to set aside

 5 judgment).1 Indeed, by seeking an order preserving other exemptions, there is no future “surprise” for

 6 plaintiff or the Court—the FBI is proactively letting the Court and plaintiff know that other exemptions

 7 likely apply to these records, but nevertheless requesting that the Court first consider the broader, and

 8 likely dispositive, 7(A) exemption in the interest of judicial economy and the speedy and just resolution

 9 of this case.

10          Finally, plaintiff claims that the requested bifurcation would not result in any efficiencies, but

11 rather would necessitate “two separate rounds of summary judgment motion practice.” Opposition at 3.

12 But this objection presupposes that the Court will reject the FBI’s 7(A) withholdings. In contrast, if the

13 Court approves of the FBI’s 7(A) withholdings, the second phase of the bifurcated proceedings will be

14 unnecessary, and there will be no second round of summary judgment motion practice. It is for precisely

15 these efficiency reasons that the FBI filed this motion. 2

16 III.     PLAINTIFF’S REQUEST FOR A VAUGHN INDEX IS PROCEDURALLY AND
            SUBSTANTIVELY IMPROPER
17

18          Plaintiff devotes most of its opposition to a request for prospective relief (i.e., that the Court should

19 order the FBI to provide a Vaughn index within 30 to 75 days). Opposition at 3-5. As a preliminary

20 matter, plaintiff’s request for an order in its opposition brief is procedurally improper. Pursuant to Civil

21 Local Rule 7-1, “[a]ny written request to the Court for an order must be presented by one of the following

22 means” (listing, inter alia, a duly noticed motion, an ex parte motion, a stipulation, etc.). Plaintiff’s

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     Plaintiff also cites Weiner v. FBI for the proposition that “courts have repeatedly stated that FOIA cases
24 should not be bifurcated and that the orderly course of justice is benefited by the raising of exemptions all
   at once, as well as the creation of a Vaughn index explaining those exemptions.” Opposition at 2 (citing
25 943 F.2d 972, 977 (9th Cir. 1991). But Weiner has nothing to do with bifurcation or delayed invocations
   of withholdings, and instead only addresses the sufficiency of the Vaughn index at issue in that case. See
26 Weiner, 943 F.2d at 977.
     2
27  Plaintiff repeatedly notes that Mr. Jones filed the at-issue FOIA request four years ago. While that may
   be true, plaintiff fails to note that this FOIA request went through the full administrative appeal process,
28 which was not resolved until this past summer, on July 29, 2019. See ECF No. 1.
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 1 request for an order does not fall within any of the listed means and, therefore, should be rejected.

 2          Even if plaintiff’s request for prospective relief in its opposition were procedurally sound, the

 3 Court still should not grant it because Vaughn indices are generally not necessary in Exemption 7(A)

 4 cases. See, e.g., Lewis v. IRS, 823 F.2d 375, 380 (9th Cir. 1987) (“When . . . a claimed FOIA exemption

 5 is based on a general exclusion, such as Exemption 7(A)’s criminal investigation exclusion, . . . a Vaughn

 6 index is futile.”); see also Unigard Ins. Co. v. Dep’t of the Treasury, 997 F. Supp. 1339, 1341 (S.D. Cal.

 7 1997) (“A Vaughn index need not be produced for exemption (b)(7)(A) withholdings because (b)(7)(A)

 8 is a general exclusion, by which the entire class of materials is per se exempt from disclosure regardless

 9 of the content of each document withheld.”) (internal quotation marks omitted); Wishart v. Comm’r ex

10 rel. United States, No. 97-20614 SW, 1998 U.S. Dist. LEXIS 13306, at *8-9 (N.D. Cal. Aug. 6,

11 1998). Here, because the FBI plans to rely on Exemption 7(A) to categorically withhold all non-public

12 documents from release, the Court should not require the FBI to prepare a Vaughn index. 3

13          At a minimum, Plaintiff’s request for a Vaughn index is premature. See, e.g., McCash v. CIA, No.

14 5:15-cv-02308-EJD, 2015 U.S. Dist. LEXIS 111169, *2 (N.D. Cal. Aug. 20, 2015) (“Production of a

15 Vaughn index is not required in every FOIA case. . . . Indeed, even under Vaughn, an index of withheld

16 documents is only necessary when there exists a factual dispute regarding whether the documents fall

17 within a disclosure exception, and such dispute cannot be resolved based solely on agency affidavits”);

18 Stimac v. United States DOJ, 620 F. Supp. 212, 213 (D.D.C. 1985) (“[P]reparation of a Vaughn Index
19 would be premature before the filing of dispositive motions.”).

20          Finally, plaintiff contends, wrongly, “that 30 to 75 days is more than a reasonable time period [to

21 process 24,400 pages of records and prepare a Vaughn index and] Courts often order Vaughn lists within

22 this time period.” Opposition at 4. This assertion is missing context—in such cases (and unlike the above-

23 captioned case), the government normally has already completed its review, and the subsequent period of

24

25   3
     Plaintiff also contends that a Vaughn index would be appropriate and useful for any other exemptions
   that may apply in this case, but requiring the FBI to expend the significant time, effort, and resources to
26 put together a complete Vaughn index would be unnecessary if the Court upholds the FBI’s Exemption
   7(A) claims in the first phase of these proceedings. Opposition at 4-5. Once again, plaintiff’s position is
27 premised on the assumption that the Court will disagree with the FBI’s Exemption 7(A) withholdings.

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 1 time is for the government to prepare a Vaughn index for summary judgment proceedings. In fact, the

 2 case law cited by plaintiff establishes that ordering such a rushed process in this case would be

 3 inappropriate. All of the cases cited by plaintiff involved proceedings that were much more fully

 4 developed than this one, and the defendant agencies in all of the cases appear to have already processed

 5 and produced the at-issue records at the time the courts ordered preparation of a Vaughn index.

 6 Specifically:

 7             •   People of State of Cal. v. Envtl. Prot. Agency, No. 3:08-cv-00735-SC Dkt. 22 (N.D. Cal.
                   Aug. 1, 2008) (purportedly ordering production of Vaughn in 20 days): The defendant
 8                 agency had already produced more than 14,000 pages of records before it was ordered to
                   produce a Vaughn index.
 9

10             •   Pickard v. Dep’t of Justice, No. 3:06-cv-00185-CRB, Dkt. 198 (N.D. Cal. May 7, 2014)
                   (purportedly ordering production of Vaughn in 30 days): At the time of the order, the case
11                 had been pending for more than eight years, the parties had filed summary judgment
                   motions, the Court denied the summary judgment motions, and then ordered the defendant
12                 agency to produce a more detailed Vaughn index.
13
               •   Beard v. U.S. Army Corps of Engineers, No. 2:2017 cv 02668, Dkt. 28 (E.D. La. Mar 1,
14                 2018) (purportedly ordering production of Vaughn in 30 days): At the time of the order,
                   the parties had already filed summary judgment motions, the Court had ruled on those
15                 summary judgment motions, and ordered the defendant agency to produce an amended
                   Vaughn index.
16
               •   Elec. Priv. Info. Ctr. v. Dep’t of Justice, No. 1:2013- cv-01961, Dkt. 32 (D.D.C. Feb. 4,
17                 2016) (purportedly ordering revised Vaughn in approximately 30 days): At the time of the
18                 order, the case had been pending for more than two years, the parties had filed summary
                   judgment motions, the Court denied the motions for summary judgment, and then ordered
19                 the defendant agency to provide a revised Vaughn index.

20             •   Elec. Frontier Found. v. Office of Dir. of Nat’l Intell., No. 4:2009-cv-03351, Dkt. 81 (N.D.
                   Cal. Sept. 30, 2013) (purportedly ordering production of Vaughn in 60 days): At the time
21                 of the order, the case had been pending for more than four years, the parties had filed
22                 summary judgment motions, the Court denied parts of the agencies’ summary judgment
                   motion and ordered the defendant agencies to provide supplemental Vaughn indices within
23                 60 days, if appropriate.

24             •   Goldwater Inst. v. U.S. Dep’t of Health & Human Servs., No. 2:2015-cv-01055, Dkt. 36
                   (D. Ariz. June 16, 2016) (purportedly ordering production of Vaughn in 60 days): By the
25                 time the Court ordered the Vaughn index produced (more than a year after the case had
26                 been filed), the parties had already filed summary judgment motions.

27             •   Judicial Watch, Inc. v. Dep’t of Justice, 1:12-cv-01510-JDB, Dkt. 38 (D.D.C. July 18,
                   2014) (purportedly ordering Vaughn in approximately 75 days): Almost a year and a half
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 1                  after the case was filed, the Court issued an order lifting a previously imposed stay and
                    ordering defendant agency to produce a Vaughn index.
 2

 3 In this case, the FBI still needs to review the records, the parties have not filed summary judgment motions,

 4 and the FBI has not previously prepared a Vaughn index that it can “revise” or “amend.” Thus, plaintiff’s

 5 request for an order requiring the FBI to process all of the records and prepare a Vaughn index in the next

 6 30-75 days would place the FBI under an enormous burden, and the resulting rush could endanger

 7 sensitive FBI information. See generally Hardy Decl. In these case-specific circumstances, the Court

 8 should not order the FBI to produce a Vaughn index within the next 30-75 days.

 9 IV.      CONCLUSION

10          For the foregoing reasons, the Motion For An Order Preserving Certain Exemptions and

11 Bifurcating Proceedings should be granted.

12 DATED: December 17, 2019                               Respectfully submitted,

13
                                                          DAVID L. ANDERSON
14                                                        United States Attorney

15                                                        /s/ Jevechius D. Bernardoni
                                                          JEVECHIUS D. BERNARDONI
16                                                        Assistant United States Attorney

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